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     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel for Service
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4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Noa_Oren@fd.org
6
     Attorney for Defendant
7    CHRISTOPHER GRADY
8
                                  IN THE UNITED STATES DISTRICT COURT
9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   Case No. 2:15-cr-00204-TLN
                                                   )
12                   Plaintiff,                    )   STIPULATION AND ORDER TO
                                                   )   CONTINUE STATUS CONFERENCE AND
13           v.                                    )   TO EXCLUDE TIME
                                                   )
14   CHRISTOPHER GRADY et al,                      )   Date: August 25, 2016
                                                   )   Time: 9:30 a.m.
15                   Defendant.                    )   Judge: Troy L. Nunley
                                                   )
16
17            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, acting U.S. Attorney,
18   through Matthew Morris, Assistant United States Attorney, attorney for Plaintiff and Heather
19   Williams, Federal Defender, through Assistant Federal Defender, Noa E. Oren, attorney for
20   Christopher Grady, that the status conference scheduled for August 25, 2016 be vacated and
21   continued to September 8, 2016 at 9:30 a.m.
22            The reason for the continuance is in order to try to resolve the case globally towards a
23   non-trial resolution. Defense counsel also requires more time to review discovery.
24            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25   excluded of this order’s date through and including September 8, 2016; pursuant to 18 U.S.C.
26   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
27   based upon continuity of counsel and defense preparation.
28   ///
     [[Stipulation and Order to Continue               -1-                       US v. Grady, 15-cr-204 TLN
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1            Counsel and the defendant also agree that the ends of justice served by the Court granting
2    this continuance outweigh the best interests of the public and the defendant in a speedy trial.
3
4    DATED: August 11, 2016                        HEATHER E. WILLIAMS
                                                   Federal Defender
5
                                                   /s/ Noa E. Oren
6                                                  NOA E. OREN
7                                                  Assistant Federal Defender
                                                   Attorney for Defendant
8                                                  CHRISTOPHER GRADY

9    DATED: August 11, 2016                        PHILLIP A. TALBERT
                                                   Acting United States Attorney
10
11                                                 /s/ Matthew Morris
                                                   MATTHEW MORRIS
12                                                 Assistant U.S. Attorney
                                                   Attorney for Plaintiff
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     [[Stipulation and Order to Continue             -2-                        US v. Grady, 15-cr-204 TLN
        Case 2:15-cr-00204-TLN Document 53 Filed 08/11/16 Page 3 of 3


1                                                ORDER
2            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8            The Court orders the time from the date the parties stipulated, up to and including
9    September 8, 2016 shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It
12   is further ordered the August 25, 2016 status conference shall be continued until September 8,
13   2016 at 9:30 a.m for defendant Christopher Grady.
14
     DATED: August 11, 2016
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                                                               Troy L. Nunley
17                                                             United States District Judge
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     [[Stipulation and Order to Continue              -3-                       US v. Grady, 15-cr-204 TLN
